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                   EXHIBIT D
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                                                                                                            USOO7889784B2


   (12)   United States Patent                                                          (10)   Patent No.:     US 7,889,784 B2
          Krinsky et al.                                                                (45)   Date of Patent:    *Feb. 15, 2011

   (54)    MULTICARRIER MODULATION                                                        4,566,100    A          111986 Mizuno eta!.
           MESSAGING FOR SNR PER SUBCHANNEL                                               5,128,619    A          7/1992 Bjork et a!.
           DURING SHOWTIME INFORMATION                                                    5,361,293    A         1111994 Czerwiee
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   (75)    Inventors: David M. Krinsky, Acton, MA (US);
                      Robert Edmund Pizzano, Stoneham,                                                                (Continued)
                      MA(US)
                                                                                                  FOREIGN PATENT DOCUMENTS
   (73)    Assignee: Aware, Inc., Bedford, MA (US)
                                                                                   EP                   0889615                 111999
   ( *)    Notice:       Subject to any disclaimer, the term of this
                         patent is extended or adjusted under 35
                                                                                                                      (Continued)
                         U.S.c. 154(b) by 0 days.
                         This patent is subject to a tenninal dis-                                       OTHER PUBLICATIONS
                         claimer.                                                  U.S. App!. No. 121779,660, filed May 13, 2010, Krinsky et a!.
   (21)    Appl. No.: 121779,708
                                                                                                                      (Continued)
   (22)    Filed:        May 13, 2010
                                                                                   Primary Examiner-Khanh C Tran
   (65)                     Prior Publication Data                                 (74) Attorney, Agent, or Firm-Jason H. Vick; Sheridan Ross
           US 201010220775 Al                Sep. 2, 2010                          P.c.
                     Related U.S. Application Data                                 (57)                               ABSTRACT
   (60)    Continuation of application No. 12/477,742, filed on
           Jun. 30, 2009, now Pat. No. 7,835,430, which is a                       Upon detection of a trigger, such as the exceeding of an error
           continuation of application No. 10/619,691, filed on                    threshold or the direction of a user, a diagnostic link system
           Jul. 16, 2003, now Pat. No. 7,570,686, which is a                       enters a diagnostic information transmission mode. This
           division of application No. 091755,173, filed on Jan. 8,                diagnostic infonnation transmission mode allows for two
           2001, now Pat. No. 6,658,052.                                           modems to exchange diagnostic and/or test infonnation that
   (60)    Provisional application No. 60/224,308, filed on Aug.                   may not otherwise be exchangeable during normal commu-
           10, 2000, provisional application No. 601174,865,                       nication. The diagnostic infonnation transmission mode is
           filed on Jan. 7, 2000.                                                  initiated by transmitting an initiate diagnostic link mode mes-
   (51)    Int. Cl.                                                                sage to a receiving modem accompanied by a cyclic redun-
           H04B 1/38                   (2006.01)                                   dancy check (CRC). The receiving modem determines, based
           H04L 12/26                  (2006.01)                                   on the CRC, if a robust communications channel is present. If
                                                                                   a robust communications channel is present, the two modems
   (52)    U.S. Cl. ....................................... 3751222; 370/252
                                                                                   can initiate exchange of the diagnostic and/or test infonna-
   (58)    Field of Classification Search ....................... None
                                                                                   tion. Otherwise, the transmission power of the transmitting
           See application file for complete search history.
                                                                                   modem is increased and the initiate diagnostic link mode
   (56)                     References Cited                                       message re-transmitted to the receiving modem until the CRC
                                                                                   is detennined to be correct.
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                                                          200                                                                   300
                            Central Office                                                      Remote Terminal
                                                                230                                        310
                                210                                                                                   (ATU-R)         330
                                             (ATU-Ci-)-----'-"------,
                                                                                                    Message
                                                                                                  Determination
                                                                                                     Device



                                                                                                                320

                                                                                                                            Diagnostic
                                                                                                      Power
                                                                                                                           Information
                                                                                                      Control
                                                                                                                             Storage
                                                                                                      Device
                                                                                                                             Deivce


                                                                                                   POTS-R                                   40
                                                                                                                           ~---
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                                                                                                                                          ~
                                                                                                                                          ~

                                   200                                                                     300                            =
                                                                                                                                          ~




                                          230                                        310
         210                                                                                     (ATU-R)         330
                      (ATU-C)             ;V                                         !II                                                  ""f'j
         ;V                       Diagnostic                                    Message                       ;!/                         ('D

                                                                                                                                          ?'
iO
           CRC                   Information                                  Determination              Diagnostic                       ....
                                                                                                                                          ~Ul
,         Checker                 Monitoring           10              30        Device                   Device                     60
                                                                                                                                          N
                           5        Device                   5                                                                     fl/.   o
                                                                                                                                          ........
                                                    .IV              ;!/
\                     ;V              I         ~ Splitter       Splitter I
                                                                                                                                 User
I                                                                                                                              Terminal
                      220                                                                  320                      340
                    .iii                                                                   !7L                    ;V                      rFJ

         Diagnostic                                                              Power
                                                                                                          Diagnostic                       =-
                                                                                                                                          ('D

                                                                                                         Information                      .....
                                                                                                                                          ('D

          Device                                                                 Control
                                                                                                           Storage
                                                                                                                                           ....
                                                                                 Device                                                   o....
                                                                                                           Deivce                         N


                            20      POTS-C                                     POTS-R                                     40
           Phone      I               ;V                                        ;V                         Phone
     I     Switch      I                                                                             I
                                                                                                                                          d
                                                                                                                                          rJl
                                                        Fig. 1                                                                            -....l
                                                                                                                                          00
                                                                                                                                          QO
                                                                                                                                          \C
                                                                                                                                          ~
                                                                                                                                          QO
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                         ~
           '---.---'           S 100




                          >---------Yes
                ?

                          S130
              Select
                         ;11                                               Fig. 2
            Diagnostic
                                >-----Yes'-----~
              Mode                                             S170
                ?
                                           Transmit Initiate Diagnostic
                                  ~----~                                  ~-------~
                                                Mode Message                             Yes

                                                               8180
                                                               ji/
                                                               >---No
                                                        ?        8200

                                              Determine Diagnostic         Re-transmit
                                                 Link Message                     ?
                    S140
                                          For Predetermined Number Of
                                 Yes
           Enter Normal                             Iterations S220
           Steady State
               Data
                                            Transmit Diagnostic Link
           Transmission                                                    S210
                                              Message With CRC
                                                                            /   No



                          S150
              Error
            Threshold                                 CRC
            Exceeded
                                                     Correct
                ?                                       ?




                                                  Transmission
                                                     Power
                          S160
            ____--.J~=::::-----;It;I-----===========::::::::.---Yes-----.J
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                                                         US 7,889,784 B2
                                  1                                                                        2
           MULTICARRIER MODULATION                                          between the two modems, the systems and methods of this
       MESSAGING FOR SNR PER SUBCHANNEL                                     invention are able to exchange diagnostic and test informa-
        DURING SHOWTIME INFORMATION                                         tion in a simple and robust manner.
                                                                                In the diagnostic link mode, the diagnostic and test infor-
                  FIELD OF THE INVENTION                                    mation is communicated using a signaling mechanism that
                                                                            has a very high immunity to noise and/or other disturbances
    This invention relates to test and diagnostic information. In
                                                                            and can therefore operate effectively even in the case where
  particular, this invention relates to a robust system and
                                                                            the modems could not actually establish an acceptable con-
  method for communicating diagnostic information.
                                                                       10   nection in their normal operational mode.
            BACKGROUND OF THE INVENTION                                         For example, if the ATU-C and/or ATU-R modem fail to
                                                                            complete an initialization sequence, and are thus unable to
     The exchange of diagnostic and test information between                enter a normal steady state communications mode, where the
  transceivers in a telecommunications environment is an                    diagnostic and test information would normally be
  important part of a telecommunications, such as an ADSL,             15   exchanged, the modems according to the systems and meth-
  deployment. In cases where the transceiver connection is not              ods of this invention enter a robust diagnostic link mode.
  performing as expected, for example, where the data rate is               Alternatively, the diagnostic link mode can be entered auto-
  low, where there are many bit errors, or the like, it is necessary        matically or manually, for example, at the direction of a user.
  to collect diagnostic and test information from the remote                In the robust diagnostic link mode, the modems exchange the
  transceiver. This is performed by dispatching a technician to        20   diagnostic and test information that is, for example, used by a
  the remote site, e.g., a truck roll, which is time consuming and          technician to determine the cause of a failure without the
  expensive.                                                                technician having to physically visit, i.e., a truckroll to, the
     In DSL technology, communications over a local sub-                    remote site to collect data.
  scriber loop between a central office and a subscriber pre-                   The diagnostic and test information can include, for
  mises is accomplished by modulating the data to be transmit-         25   example, but is not limited to, signal to noise ratio informa-
  ted onto a multiplicity of discrete frequency carriers which              tion, equalizer information, programmable gain setting infor-
  are snmmed together and then transmitted over the subscriber              mation, bit allocation information, transmitted and received
  loop. Individually, the carriers form discrete, non-overlap-              power information, margin information, status and rate infor-
  ping communication subchannels oflimited bandwidth. Col-                  mation, telephone line condition information, such as the
  lectively, the carriers form what is effectively a broadband         30   length of the line, the number and location of bridged taps, a
  communications channel. At the receiver end, the carriers are             wire gauge, or the like, or any other known or later developed
  demodulated and the data recovered.                                       diagnostic or test information that may be appropriate for the
     DSL systems experience disturbances from other data ser-               particular communications environment. For example, the
  vices on adjacent phone lines, such as, for example, ADSL,                exchanged diagnostic and test information can be directed
  HDSL, ISDN, T1, or the like. These disturbances may com-             35   toward specific limitations of the modems, to information
  mence after the subj ect ADSL service is already initiated and,           relating to the modem installation and deployment environ-
  since DSL for internet access is envisioned as an always-on               ment, or to other diagnostic and test information that can, for
  service, the effect of these disturbances must be ameliorated             example, be determined as needed which may aid in evaluat-
  by the subject ADSL transceiver.                                          ing the cause of a specific failure or problem. Alternatively,
                                                                       40   the diagnostic and test information can include the loop
               SUMMARY OF THE INVENTION                                     length and bridged tap length estimations as discussed in
                                                                            copending Ser. No. 121779,660, filed herewith and incorpo-
     The systems and methods of this invention are directed                 rated herein by reference in its entirety.
  toward reliably exchanging diagnostic and test information                    For example, an exemplary embodiment of the invention
  between transceivers over a digital subscriber line in the           45   illustrates the use of the diagnostic link mode in the commu-
  presence of voice communications and/or other disturbances.               nication of diagnostic information from the remote terminal
  For simplicity of reference, the systems and methods of the               (RT) transceiver, e.g.,ATU-R, to the central office (CO) trans-
  invention will hereafter refer to the transceivers generically as         ceiver, e.g., ATU-C. Transmission of information from the
  modems. One such modem is typically located at a customer                 remote terminal to the central office is important since a
  premises such as a home or business and is "downstream"              50   typical ADSL service provider is located in the central office
  from a central office with which it communicates. The other               and would therefore benefit from the ability to determine
  modem is typically located at the central office and is                   problems at the remote terminal without a truckroll. However,
  "upstream" from the customer premises. Consistent with                    it is to be appreciated, that the systems and the methods of this
  industry practice, the modems are often referred to as "ATU-              invention will work equally well in communications from the
  R" ("ADSL transceiver unit, remote," i.e., located at the cus-       55   central office to the remote terminal.
  tomerpremises) and "ATU-C" ("ADSL transceiver unit, cen-
                                                                                These and other features and advantages of this invention
  tral office" i.e., located at the central office). Each modem
                                                                            are described in or are apparent from the following detailed
  includes a transmitter section for transmitting data and a
                                                                            description of the embodiments.
  receiver section for receiving data, and is of the discrete
  multitone type, i.e., the modem transmits data over a multi-         60
  plicity of subchannels of limited bandwidth. Typically, the                      BRIEF DESCRIPTION OF THE DRAWINGS
  upstream or ATU -C modem transmits data to the downstream
  or ATU-R modem over a first set of subchannels, which are                   The embodiments of the invention will be described in
  usually the higher-frequency subchannels, and receives data               detail, with reference to the following figures wherein:
  from the downstream or ATU-R modem over a second, usu-               65      FIG. 1 is a functional block diagram illustrating an exem-
  ally smaller, set of subchannels, commonly the lower-fre-                 plary communications system according to this invention;
  quency subchannels. By establishing a diagnostic link mode                and
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                                   3                                                                      4
     FIG. 2 is a flowchart outlining an exemplary method for
  communicating diagnostic and test infonnation according to                                    TABLE I-continued
  this invention.
                                                                                              Exemplary Message Variables
     DETAILED DESCRIPTION OF THE INVENTION                                        Programmable gain amplifier PGA Gain - Showtime
                                                                                  Filter Present during Idle Channel Calculation
     For ease of illustration the following description will be                   Average Idle Channel Noise
                                                                                  Signal to Noise during Training
  described in relation to the CO receiving diagnostic and test                   Signal to Noise during Showtime
  information from the RT. In the exemplary embodiment, the                       Bits and Gains
  systems and methods of this invention complete a portion of        10           Data Rate
  the nonnal modem initialization before entering into the diag-                  Framing Mode
                                                                                  Margin
  nostic link mode. The systems and methods of this invention                     Reed-Solomon Coding Gain
  can enter the diagnostic link mode manually, for example, at                    QAMUsage
  the direction of a technician or a user after completing a                      Frequency Domain Equalizer (FDQ) Coefficients
  portion of initialization. Alternatively, the systems and meth-    15           Gain Scale
                                                                                  Time domain equalizer (TDQ) Coefficients
  ods of this invention can enter the diagnostic link mode auto-                  Digital Echo Canceller (DEC) Coefficients
  matically based on, for example, a bit rate failure, a forward
  error correction or a CRC error during showtime, e.g., the
  nonnal steady state transmission mode, or the like. The tran-              Table I shows an example of a data message that can be
  sition into the diagnostic link mode is accomplished by trans-     20   sent by the RT to the CO during the diagnostic link mode. In
  mitting a message from the CO modem to the RT modem                     this example, the RT modem sends 23 different data variables
  indicating that the modems are to enter into the diagnostic             to the CO. Each data variable contains different items of
  link mode, as opposed to transitioning into the nonnal steady           diagnostic and test information that are used to analyze the
  state data transmission mode. Alternatively, the transition into        condition of the link. The variables may contain more than
  the diagnostic link mode is accomplished by transmitting a         25   one item of data. For example, the Average Reverb Signal
  message from the RT modem to the CO modem indicating                    contains the power levels per tone, up to, for example, 256
  that the modems are to enter into the diagnostic link mode as           entries, detected during theADSL Reverb signal. Conversely,
  opposed to transitioning into the nonnal steady state data              the PGA Gain-Training is a single entry, denoting the gain
  transmission mode. For example, the transition signal uses an           in dB at the receiver during the ADSL training.
  ADSL state transition to transition from a standard ADSL           30      Many variables that represent the type of diagnostic and
  state to a diagnostic link mode state.                                  test information that are used to analyze the condition of the
     In the diagnostic link mode, the RT modem sends diagnos-             link are sent from the RT modem to the CO modem. These
  tic and test information in the form of a collection of infor-          variables can be, for example, arrays with different lengths
  mation bits to the CO modem that are, for example, modu-                depending on, for example, information in the initiate diag-
  lated by using one bit per DTM symbol modulation, as is used       35   nostic mode message. The systems and methods of this inven-
  in the C-Ratesl message in the ITU and ANSI ADSL stan-                  tion can be tailored to contain many different diagnostic and
  dards, where the symbol may or may not include a cyclic                 test infonnation variables. Thus, the system is fully config-
  prefix. Other exemplary modulation techniques include Dif-              urable, allowing subsets of data to be sent and additional data
  ferential Phase Shift Keying (DPSK) on a subset or all the              variables to be added in the future. Therefore, the message
  carriers, as specified in, for example, ITU standard G.994.1,      40   length can be increased or decreased, and diagnostic and test
  higher order QAM modulation (> I bit per carrier), or the like.         information customized, to support more or less variables as,
     In the one bit per DMT symbol modulation message                     for example, hardware, the environment and/or the telecom-
  encoding scheme, a bit with value 0 is mapped to the                    munications equipment dictates.
  REVERB I signal and a bit with a value of I mapped to a                    Therefore, it is to be appreciated, that in general the vari-
  SEGUEI signal. The REVERBI and SEGUEI signals are                  45   ables transmitted from the modem being tested to the receiv-
  defined in the ITU and ANSI ADSL standards. The                         ing modem can be any combination of variables which allow
  REVERB I signal is generated by modulating all of the car-              for transmission of test and/or diagnostic infonnation.
  riers in the multi carrier system with a known pseudo-random               FIG. 1 illustrates an exemplary embodiment of the addi-
  sequence thus generating a wideband modulated signal. The               tional modem components associated with the diagnostic link
  SEGUEI signal is generated from a carrier by 180 degree            50   mode. In particular, the diagnostic link system 100 comprises
  phase reversal of the REVERB I signal. Since both signals are           a central office modem 200 and a remote terminal modem
  wideband and known in advance, the receiver can easily                  300. The central office modem 200 comprises, in addition to
  detect the REVERB I and SEGUEI signal using a simple                    the standardATU-C components, a CRC checker 210, a diag-
  matched filter in the presence of large amounts of noise and            nostic device 220, and a diagnostic information monitoring
  other disturbances.                                                55   device 230. The remote terminal modem 300 comprises, in
                                                                          addition to the standard components associated with anATU-
                              TABLE I                                     R, a message detennination device 310, a power control
                                                                          device 320, a diagnostic device 330 and a diagnostic infor-
                      Exemplary Message Variables                         mation storage device 340. The central office modem 200 and
          Data Sent in !be Diag Link
                                                                     60   the remote tenninal model 300 are also connected, via link 5,
          Train Type                                                      to a splitter 10 for a phone switch 20, and a splitter 30 for a
          ADSL Standard                                                   phone 40. Alternatively, the ATU-R can operate without a
          Chip Type                                                       splitter, e.g., splitterless, as specified in ITU standard G.992.2
          VendorID
          Code Version
                                                                          (G.lite) or with an in-line filter in series with the phone 40. In
          Average Reverb Received Signal                             65   addition, the remote tenninal modem 300, can also be con-
          Programmable gain amplifier (PGA) Gain - Training               nected to, for example, one or more user terminals 60. Addi-
                                                                          tionally, the central office modem 200 can be connected to
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                                 5                                                                        6
  one or more distributed networks 50, via link 5, which mayor             the signal to noise ratio, the bits and gains and the upstream
  may not also be connected to one or more other distributed               and downstream transmission rates, or the like.
  networks.                                                                   If the initiate diagnostic link mode message is not received
     While the exemplary embodiment illustrated in FIG. 1                  by the central office 200, the initiate diagnostic link mode
  shows the diagnostic link system 100 for an embodiment in                message can, for example, be re-transmitted a predetermined
  which the remote tenninal modem 300 is communicating test
                                                                           number of iterations until a detennination is made that it is not
  and diagnostic information to the central office 200, it is to be
                                                                           possible to establish a connection.
  appreciated that the various components of the diagnostic link
  system can be rearranged such that the diagnostic and test                  Assuming the initiate diagnostic link mode message is
  information can be forwarded from the central office 200 to         10   received, then, for a predetennined number of iterations, the
  the remote terminal modem 300, or, alternatively, such that              diagnostic device 330, in cooperation with the remote tenni-
  both modems can send and receive diagnostic and/or test                  nal modem 300 and the diagnostic infonnation storage device
  information. Furthermore, it is to be appreciated, that the              340, transmits the diagnostic link message with a cyclic
  components of the diagnostic link system 100 can be located              rednndancy check (eRC) to the central office modem 200.
  at various locations within a distributed network, such as          15   However, it is to be appreciated that in general, any error
  the -POTS network, or other comparable telecommnnications                detection scheme, such as bit error detection, can be used
  network. Thus, it should be appreciated that the components              without affecting the operation of the system. The central
  of the diagnostic link system 100 can be combined into one               office 200, in cooperation with the eRe checker 210, deter-
  device for respectively transmitting, receiving, or transmit-            mines if the eRe is correct. If the eRe is correct, the diag-
  ting and receiving diagnostic and/or test information. As will      20   nostic information stored in the diagnostic information stor-
  be appreciated from the following description, and for rea-              age device 340 has been, with the cooperation of the
  sons of computational efficiency, the components of the diag-            diagnostic device 330, and the remote tenninal modem 300,
  nostic link system 100 can be arranged at any location within            forwarded to the central office 200 successfully.
  a telecommnnications network and/or modem without affect-
                                                                              If, for example, the eRe checker 210 is unable to deter-
  ing the operation of the system.                                    25   mine the correct eRe, the diagnostic device 330, in coopera-
     The links 5 can be a wired or wireless link or any other              tion with power control device 320, increases the transmis-
  known or later developed element(s) that is capable of sup-              sion power of the remote terminal 300 and repeats the
  plying and communicating electronic data to and from the                 transmission of the diagnostic link message from the remote
  connected elements. Additionally, the user terminal 60 can               tenninal300 to the central office 200. This process continues
  be, for example, a personal computer or other device allowing       30   until the correct eRe is determined by the eRe checker 210.
  a user to interface with and communicate over a modem, such
  as a DSL modem. Furthermore, the systems and method of                      The maximum power level used for transmission of the
  this invention will work equally well with splitterless and              diagnostic link message can be specified by, for example, the
  low-pass multi carrier modem technologies.                               user or the ADSL service operator. If the eRe checker 210
     In operation, the remote tenninal 300, commences its nor-        35
                                                                           does not determine a correct eRe at the maximum power
  mal initialization sequence. The diagnostic device 330 moni-             level and the diagnostic link mode can not be initiated then
  tors the initialization sequence for a failure. If there is a            other methods for detennining diagnostic information are
  failure, the diagnostic device 330 initiates the diagnostic link         utilized, such as dispatching a technician to the remote site, or
  mode. Alternatively, a user or, for example, a technician at the         the like. Alternatively, the remote terminal 300, with or with-
  eo, can specifY that the remote terminal 300 enter into the         40
                                                                           out an increase in the power level, can transmit the diagnostic
  diagnostic link mode after completing a portion of an initial-           link message several times, for example, 4 times. By trans-
  ization. Alternatively still, the diagnostic device 330 can              mitting the diagnostic link message several times, the eo
  monitor the nonnal steady state data transmission of the                 modem 200 can use, for example, a diversity combining
  remote tenninal, and upon, for example, an error threshold               scheme to improve the probability of obtaining a correct eRe
  being exceeded, the diagnostic device 330 will initiate the         45
                                                                           from the received diagnostic link message(s).
  diagnostic link mode.                                                       Alternatively, as previously discussed, the central office
     Upon initialization of the diagnostic link mode, the diag-            200 comprises a diagnostic infonnation monitoring device
  nostic device 330, in cooperation with the remote tenninal               230. The remote terminal 300 can also include a diagnostic
  300 will transmit an initiate diagnostic link mode message               information monitoring device. One or more of these diag-
  from the remote tenninal to the central office 200 (RT to eO).      50   nostic infonnation monitoring devices can monitor the nor-
  Alternatively, the central office modem 200 can transmit an              mal steady state data transmission between the remote tenni-
  initiate diagnostic link mode message to the remote tenninal             nal 300 and the central office 200. Upon, for example, the
  modem 300. If the initiate diagnostic link mode message is               normal steady state data transmission exceeded a predeter-
  received by the central office 200, the diagnostic device 330,           mined error threshold, the diagnostic infonnation monitoring
  in cooperation with the message detennination device 310,           55   device can initiate the diagnostic link mode with the coopera-
  determines a diagnostic link message to be forwarded to the              tion of the diagnostic device 300 and/or the diagnostic device
  central office 200. For example, the diagnostic link message             220.
  can include test infonnation that has been assembled during,                FIG. 2 illustrates an exemplary method for entering a diag-
  for example, the nonnal ADSL initialization procedure. The               nostic link mode in accordance with this invention. In par-
  diagnostic and/or test information can include, but is not          60   ticular, control begins in step S100 and continues to step
  limited to, the version number of the diagnostic link mode, the          Sll O. In step Sll 0, the initialization sequence is commenced.
  length of the diagnostic and/or test infonnation, the commu-             Next, in step S120, if an initialization failure is detected,
  nications standard, such as the ADSL standard, the chipset               control continues to step S170. Otherwise, control jumps to
  type, the vendor identifications, the ATU version number, the            step S130. In step S130, a determination is made whether the
  time domain received reverb signal, the frequency domain            65   diagnostic link mode has been selected. If the diagnostic link
  reverb signal, the amplifier settings, the eo transmitter power          mode has been selected, control continues to step S170, oth-
  spectral density, the frequency domain received idle channel,            erwise, control jumps to step S140.
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     In step S170, the initiate diagnostic link mode message is          terns or microprocessor or microcomputer systems being uti-
  transmitted from, for example, the remote terminal to the              1ized. The diagnostic link system and methods illustrated
  central office. Next, in step S180, a determination is made            herein however, can be readily implemented in hardware
  whether the initiate diagnostic mode message has been                  and/or software using any known or later developed systems
  received by the CO. If the initiate diagnostic mode message            or structures, devices and/or software by those of ordinary
  has been received by the CO, control jumps to step S200.               skill in the applicable art from the functional description
  Otherwise, control continues to step S190. In step S190, a             provided herein and with a general basic knowledge of the
  determination is made whether to re-transmit the initiate              computer and telecommunications arts.
  diagnostic mode message, for example, based on whether a                  Moreover, the disclosed methods can be readily imp le-
  predetermined number of iterations have already been com-         10   mented as software executed on a programmed general pur-
  pleted. If the initiate diagnostic mode message is to be re-           pose computer, a special purpose computer, a microproces-
  transmitted, control continues back to step S170. Otherwise,           sor, or the like. In these instances, the methods and systems of
  control jumps to step S160.                                            this invention can be implemented as a program embedded on
     In step S200, the diagnostic link message is determined, for        a modem, such a DSL modem, as a resource residing on a
  example, by assembling test and diagnostic information            15   personal computer, as a routine embedded in a dedicated
  about one or more of the local loop, the modem itself, the             diagnostic link system, a central office, or the like. The diag-
  telephone network at the remote terminal, or the like. Next, in        nostic link system can also be implemented by physically
  step S210, for a predetermined number of iterations, steps             incorporating the system and method into a software and/or
  S220-S240 are completed. In particular, in step S220 a diag-           hardware system, such as a hardware and software systems of
  nostic link message comprising a CRC is transmitted to, for       20   a modem, a general purpose computer, anADSL line testing
  example, the CO. Next, in step S230, the CRC is determined.            device, or the like.
  Then, in step S240, a determination is made whether the CRC               It is, therefore, apparent that there is provided in accor-
  is correct. If the CRC is correct, the test and/or diagnostic          dance with the present invention, systems and methods for
  information has been successfully communicated and control             transmitting a diagnostic link message. While this invention
  continues to step S160.                                           25   has been described in conjunction with a number of embodi-
     Otherwise, if step S210 has completed the predetermined             ments' it is evident that many alternatives, modifications and
  number of iterations, control continues to step S250. In step          variations would be or are apparent to those of ordinary skill
  S250, the transmission power is increased and control con-             in the applicable arts. Accordingly, applicants intend to
  tinues back to step S210. Alternatively, as previously dis-            embrace all such alternatives, modifications, equivalents and
  cussed, the diagnostic link message may be transmitted a          30   variations that are within the spirit and the scope of this
  predetermined number of times, with our without a change in            invention.
  the transmission power.                                                   What is claimed is:
     In step S140, the normal steady state data transmission is             1. A transceiver capable of transmitting test information
  entered into between two modems, such as the remote termi-             over a communication channel using multi carrier modulation
  na and the central office modems. Next, in step S150, a          35   comprising:
  determination is made whether an error threshold during the               a transmitter portion capable of transmitting a message,
  normal steady state data transmission has been exceeded. If                  wherein the message comprises one or more data vari-
  the error threshold has been exceeded, control continues to                  ables that represent the test information, wherein bits in
  step S170. Otherwise, control jumps to step S160. In step                    the message are modulated onto DMT symbols using
  S160, the control sequence ends.                                  40         Quadrature Amplitude Modulation (QAM) with more
     As shown in FIG. 1, the diagnostic link mode system can be                than 1 bit per subchannel and wherein at least one data
  implemented either on a single program general purpose                       variable of the one or more data variables comprises an
  computer, a modem, such as a DSL modem, or a separate                        array representing Signal to Noise ratio per subchaunel
  program general purpose computer having a communications                     during Showtime information.
  device. However, the diagnostic link system can also be           45      2. A transceiver capable of receiving test information over
  implemented on a special purpose computer, a programmed                a communication channel using multicarrier modulation
  microprocessor or micro controller and peripheral integrated           comprising:
  circuit element, an ASIC or other integrated circuit, a digital           a receiver portion capable of receiving a message, wherein
  signal processor, a hardwired electronic or logic circuit such               the message comprises one or more data variables that
  as a discrete element circuit, a programmed logic device such     50         represent the test information, wherein bits in the mes-
  as a PLD, PLA, FPGA, PAL, or the like, and associated                        sage were modulated onto DMT symbols using Quadra-
  communications equipment. In general, any device capable                     ture Amplitude Modulation (QAM) with more than 1 bit
  of implementing a finite state machine that is capable of                    per subchannel and wherein at least one data variable of
  implementing the flowchart illustrated in FIG. 2 can be used                 the one or more data variables comprises an array rep-
  to implement a diagnostic link system according to this inven-    55         resenting Signal to Noise ratio per sub channel during
  tion.                                                                        Showtime information.
     Furthermore, the disclosed method may be readily imple-                3. In a transceiver capable of transmitting test information
  mented in software using object or object-oriented software            over a communication channel using multi carrier modula-
  development environments that provide portable source code             tion, a method comprising:
  that can be used on a variety of computer, workstation, or        60      transmitting a message, wherein the message comprises
  modem hardware platforms. Alternatively, the disclosed                       one or more data variables that represent the test infor-
  diagnostic link system may be implemented partially or fully                 mation, wherein bits in the message are modulated onto
  in hardware using standard logic circuits or a VLSI design.                  DMT symbols using Quadrature Amplitude Modulation
  Other software or hardware can be used to implement the                      (QAM) with more than 1 bit per sub channel and wherein
  systems in accordance with this invention depending on the        65         at least one data variable of the one or more data vari-
  speed and/or efficiency requirements of the systems, the par-                ables comprises an array representing Signal to Noise
  ticular function, and a particular software or hardware sys-                 ratio per sub channel during Showtime information.
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      4. In a transceiver capable of receiving test infonnation                DMT symbols using Quadrature Amplitude Modulation
   over a connnunication channel using multi carrier modula-                   (QAM) with more than 1 bit per sub channel and wherein
   tion, a method comprising:                                                  at least one data variable of the one or more data vari-
      receiving a message, wherein the message comprises one                   ables comprises an array representing Signal to Noise
         or more data variables that represent the test infonna-               ratio per sub channel during Showtime information.
         tion, wherein bits in the message were modulated onto              6. Anon-transitory computer-readable information storage
         DMT symbols using Quadrature Amplitude Modulation                media having stored thereon instructions that if executed
         (QAM) with more than 1 bit per subchannel and wherein            cause a transceiver to perfonn a method comp;ising:         '
         at least one data variable of the one or more data vari-           receiving a message, wherein the message comprises one
         abIes comprises an array representing Signal to Noise       10        or more data variables that represent the test infonna-
         ratio per sub channel during Showtime information.                    tion, wherein bits in the message were modulated onto
                                                                               DMT symbols using Quadrature Amplitude Modulation
      5. Anon-transitory computer-readable infonnation storage
                                                                               (QAM) with more than 1 bit per sub channel and wherein
   media having stored thereon instructions that if executed
                                                                               at least one data variable of the one or more data vari-
   cause a transceiver to perfonn a method comprising:           '
                                                                     15        ables comprises an array representing Signal to Noise
      transmitting a message, wherein the message comprises                    ratio per sub channel during Showtime information.
         one or more data variables that represent the test infor-
         mation, wherein bits in the message are modulated onto                                 * * * * *
